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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MINNESOTA


THELMA JONES, PRIYIA LACEY, FAISA                  Case: 18-cv-1643 (JRT/HB)
ABDI, ALI ALI, RUKIYA HUSSEIN, LUCIA
PORRAS, DAVID TROTTER-FORD, AND
SOMALI COMMUNITY RESETTLEMENT
SERVICES, INC.,

                         Plaintiffs,

v.

CITY OF FARIBAULT,

                         Defendant.


        DEFENDANTS’ MEMORANDUM OF LAW IN SUPPORT OF
       MOTION TO MODIFY THE PRETRIAL SCHEDULING ORDER


                               INTRODUCTION

      On September 25, 2018, the Court entered a Pretrial Scheduling Order

which established “[e]xpert discovery, including depositions, shall be completed

by August 1, 2019.” Pretrial Scheduling Order, at 9, September 25, 2018, Doc. #21.

Over the next nine months the parties worked diligently to complete fact and

expert discovery consistent with the timelines established by the Court. Plaintiffs

disclosed two initial experts, Dr. Christopher Wildeman and Dr. Allan McMillan

Parnell. Defendant disclosed its initial expert—Dr. Alejandro del Carmen—on
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June 3, and on July 1 Defendant disclosed a rebuttal report from Dr. del Carmen

under Federal Rule of Civil Procedure 26(a)(2)(D)(ii).

      On June 28, 2019, the parties jointly agreed to extend the deadline for

expert discovery to September 6, 2019, and further agreed to extend the deadline

for motions related to expert discovery to September 20, 2019. Joint Stipulation to

Extend Discovery Deadline, at 2, Doc. #72, June 28, 2019. The Court adopted the

parties’ stipulation and granted the agreed upon extension on July 1, 2019. Order

on Second Joint Stipulation to Extend Discovery Deadline, Doc. #74, July 1, 2019.

      The parties scheduled expert depositions to occur throughout August and

continued to work toward completing expert discovery within the modified

deadlines established by the Court. On August 12, however, Defendants received

a Restricted Order from its expert Dr. Alejandro del Carmen. The Order—which

was issued by the Honorable Gustavo A. Gelpí, Chief Judge for the United States

District Court for the District of Puerto Rico—restricted Dr. del Carmen from

participating or testifying (as an expert, witness, or in any other capacity) in any

litigation where the American Civil Liberties Union (“ACLU”) is a party or

counsel, including this action.

      Defendant worked diligently to address the issue to no avail. Defendant—

joined by Plaintiffs—requested Judge Gelpí reconsider his Order and allow Dr.

del Carmen to continue serving as an expert in this case. This attempt was


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fruitless, as Judge Gelpí denied the motion for reconsideration and maintained

the prohibition as to Dr. del Carmen.

      Defendant now moves this Court for a modification to the Pretrial

Scheduling Order so that this matter may be justly and equitably litigated.

                                LEGAL STANDARD

      Fed. R. Civ. P. 16(b)(4) provides a Pretrial Scheduling Order can be

modified for “good cause and with the judge’s consent.” Fed. R. Civ. P. 16. “The

Federal Rules of Civil Procedure require the Court to construe and administer

Rule 16 ‘to secure the just, speedy, and inexpensive determination of the action.’”

Portz v. St. Cloud State Univ., No. CV 16-1115 (JRT/LIB), 2017 WL 3332220, at *3

(D. Minn. Aug. 4, 2017) (quoting White v. Nat'l Football League, 756 F.3d 585, 596

(8th Cir. 2014) (internal alterations omitted)). “[T]here is not a clear test for when

a party is diligent enough to establish good cause.” Portz v. St. Cloud State Univ.,

No. CV 16-1115 (JRT/LIB), 2017 WL 3332220, at *4 (D. Minn. Aug. 4, 2017).

“[W]hile diligence is the primary factor for assessing good cause, nothing limits

the Court’s ‘broad discretion in establishing and enforcing the deadlines’ in the

scheduling order.” Portz v. St. Cloud State Univ., No. CV 16-1115 (JRT/LIB), 2017

WL 3332220, at *3 (D. Minn. Aug. 4, 2017) (quoting Marmo v. Tyson Fresh Meats,

Inc., 457 F.3d 748, 759 (8th Cir. 2006)).




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                                     ARGUMENT

         The Court should grant Defendant’s motion to modify the scheduling

order because justice requires it, and further, because Plaintiffs do not oppose it.1

         The current situation unfolded despite Defendant’s            diligence in

researching, identifying, retaining, and disclosing both initial and rebuttal

experts consistent with the Court’s deadlines. Defendant has not only been

diligent in its efforts to complete expert discovery, but has also been diligent in

its efforts to remedy the situation created by Judge Gelpí’s Order.

         The Court should grant Defendant’s motion based on the foregoing good

cause shown. A motion to modify a pretrial scheduling order to allow for

substitution of an expert witness is properly granted when the party seeking

substitution promptly notified the Court and the opposing parties, and when the

expert witness withdrew for reasons outside of the party’s control. See Fagen, Inc.

v. Exergy Dev. Grp. of Idaho, L.L.C., No. CV 12-2703 (JRT/SER), 2016 WL 2885958,

at *3 (D. Minn. May 17, 2016) (collecting cases).




1   Plaintiffs’ counsel has requested this footnote:

         Although Plaintiffs do not oppose the relief sought herein, they
         reserve the right to revisit the scheduling order if Judge Gelpi’s
         Order prohibiting Dr. del Carmen from participating in this case is
         vacated or if Dr. del Carmen otherwise becomes available to
         participate in this case.
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        Modification of the Scheduling Order is not only warranted based on the

foregoing good cause shown, it is also warranted because it will only briefly

delay the progress of this matter. Under the circumstances, Defendant proposes,

and the Plaintiffs do not oppose, the following modifications:

        Disclosure of the identities of expert witnesses under Rule
        26(a)(2)(A), the full disclosures required by Rule 26(a)(2)(B)
        (including the written report prepared and signed by each expert
        witness), and the full disclosures required by Rule 26(a)(2)(C), shall
        be made as follows:

              Identification by Defendant on or before November 1, 2019.

              Rule 26(a)(2)(B) and 26(a)(2)(C) disclosures by Defendant on
              or before November 1, 2019.

              Rebuttal expert identities and disclosures on or before
              December 2, 2019.

        Expert discovery, including depositions, shall be completed by
        January 17, 2020.

        Non-dispositive motion deadline related to experts: January 31,

2020.

        All dispositive motions and supporting documentation (notice of
        motion, motion, exhibits, affidavits, memorandum of law, and
        proposed order) shall be served and filed by the moving party on or
        before March 2, 2020.

                                  CONCLUSION

        Notwithstanding Defendant’s diligence, the parties are currently litigating

this matter on unequal footing. Modification of the Pretrial Scheduling Order


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will remedy this inequality and permit a just, speedy, and inexpensive resolution

of this action. For the aforementioned reasons, Defendant’s motion should be

granted.

                                           IVERSON REUVERS CONDON


Dated: September 6, 2019                   By s/ Paul D. Reuvers
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